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                                    Attorneys for Plaintiff,
                               15   Christian Towner
                               16
                                                        UNITED STATES DISTRICT COURT
                               17
                                                      SOUTHERN DISTRICT OF CALIFORNIA
                               18
                                    CHRISTIAN TOWNER,                           Case No.: 17-cv-595 W (KSC)
                               19
                                                     Plaintiff,
                               20                                               JOINT MOTION TO DISMISS
                                                          v.                    WITH PREJUDICE PURSUANT TO
                               21
                                                                                FED. R. CIV. P. 41(A)
                                    MIDLAND CREDIT
                               22
                                    MANAGEMENT, INC.,
                                                                                HON. THOMAS J. WHELAN
                               23
                                                 Defendant.
                               24

                               25   ///
                               26   ///
                               27   ///
                               28   ///
                                    Case No.: 17-cv-595 W (KSC)                    Towner v. Midland Credit Management, Inc.
                                          JOINT MOTION TO DISMISS WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41(A)
                                    Case 3:17-cv-00595-W-KSC Document 13 Filed 04/23/18 PageID.53 Page 2 of 3


                                          Plaintiff CHRISTIAN TOWNER (“Plaintiff”), and Defendant MIDLAND
                                1
                                    CREDIT MANAGEMENT, INC., (“Defendant”), by and through their
                                2
                                    undersigned counsel, respectfully submit this Joint Motion for Dismissal of this
                                3
                                    Action pursuant to Rule 41(a)(1) of the Federal Rule of Civil Procedure.
                                4
                                          Plaintiff and Defendant hereby jointly move to dismiss this action WITH
                                5
                                    PREJUDICE with each party to bear its own costs and attorneys’ fees.
                                6

                                7
                                    Dated: April 23, 2018                                          Respectfully submitted,
                                8
                                9                                                         KAZEROUNI LAW GROUP, APC
                               10                                                        By:      /s Matthew M. Loker
                               11                                                               MATTHEW M. LOKER, ESQ.
                                                                                                ATTORNEY FOR PLAINTIFF
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                               13                                        SOLOMON WARD SEIDENWURM & SMITH LLP
                               14
                                                                                            By:    /s Leah S. Strickland
                               15                                                             LEAH S. STRICKLAND, ESQ.
                                                                                             ATTORNEY FOR DEFENDANT
                               16

                               17                            SIGNATURE CERTIFICATION
                               18
                                           Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
                               19   Policies and Procedures Manual, I hereby certify that the content of this document
                                    is acceptable to defense counsel and that I have obtained defense counsel’s
                               20
                                    authorization to affix defense counsel’s electronic signatures to this document.
                               21

                               22   Date: April 23, 2018                                  KAZEROUNI LAW GROUP, APC
                               23

                               24                                                        By:     /s Matthew M. Loker
                               25                                                              MATTHEW M. LOKER, ESQ.
                                                                                               ATTORNEY FOR PLAINTIFF
                               26

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                               28

                                    Case No.: 17-cv-595 W (KSC)           1 of 1   Towner v. Midland Credit Management, Inc.
                                          JOINT MOTION TO DISMISS WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41(A)
                                    Case 3:17-cv-00595-W-KSC Document 13 Filed 04/23/18 PageID.54 Page 3 of 3



                                1
                                                                         PROOF OF SERVICE
                                2
                                            I am a resident of the State of California, over the age of eighteen years, and not a party
                                3
                                    to the within action. My business address is Kazerouni Law Group, APC, 245 Fischer Avenue,
                                4   Unit D1, Costa Mesa, CA 92626. On April 23, 2018, I served the within document(s):

                                5      JOINT MOTION TO DISMISS WITH PREJUDICE PURSUANT TO FED. R. CIV.
                                       P. 41(A)
                                6
                                                  E-MAIL - by transmitting via e-mail the document(s) listed above to the e-mail
                                7                  address(es) listed below on this date before 11:59 p.m.
                                8                 MAIL - by placing the document(s) listed above in a sealed envelope with
                                                   postage thereon fully prepaid, in the United States mail at Costa Mesa, California
                                9                  addressed as set forth above.
                               10                 PERSONAL SERVICE - by personally delivering the document(s) listed above
                                                   to the person(s) at the address(es) set forth below.
                               11
                                                  OVERNIGHT COURIER - by placing the document(s) listed above in a sealed
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                               12                  envelope with shipping prepaid, and depositing in a collection box for next day
    COSTA MESA, CA 92626




                                                   delivery to the person(s) at the address(es) set forth below via.
                               13
                                                  CM/ECF - by transmitting electronically the document(s) listed above to the
                               14                  electronic case filing system on this date before 11:59 p.m. The Court’s
                                                   CM/ECF system sends an e-mail notification of the filing to the parties and
                               15
                                                   counsel of record who are registered with the Court’s CM/ECF system.
                               16
                                            I am readily familiar with the firm's practice of collection and processing
                               17   correspondence for mailing. Under that practice, it would be deposited with the U.S. Postal
                               18   Service on that same day with postage thereon fully prepaid in the ordinary course of business.
                                    I am aware that on motion of the party served, service is presumed invalid if postal cancellation
                               19   date or postage meter date is more than one day after date of deposit for mailing in affidavit.

                               20            I declare under penalty of perjury under the laws of the State of California that the above
                                    is true and correct. Executed on April 23, 2018, at Costa Mesa, California.
                               21

                               22
                                                                                                           /s Matthew M. Loker, Esq.
                               23                                                                          MATTHEW M. LOKER, ESQ.
                               24

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                               28
                                    Case No.: 17-cv-595 W (KSC)                            Towner v. Midland Credit Management, Inc.
                                                                           PROOF OF SERVICE
